                                                                                              (3 of 29)
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                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                     MAY 17 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 FRIENDS OF THE CLEARWATER;                     No. 22-35382
 ALLIANCE FOR THE WILD
 ROCKIES,
                                                D.C. No. 2:20-cv-00243-BLW
               Plaintiffs - Appellees,          U.S. District Court for Idaho, Boise

   v.                                           TIME SCHEDULE ORDER

 CARL PETRICK, n his official capacity
 as Forest Supervisor of the Idaho
 Panhandle National Forests; UNITED
 STATES FOREST SERVICE, an
 agency of the U.S. Department of
 Agriculture; UNITED STATES FISH
 AND WILDLIFE SERVICE, an agency
 of the U.S. Department of Interior,

               Defendants,

  and

 STIMSON LUMBER COMPANY,

        Intervenor-Defendant - Appellant.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.
                                                                                   (4 of 29)
       Case:2:20-cv-00243-BLW
       Case  22-35382, 05/17/2022, ID: 12448848,
                                Document         DktEntry:
                                           93 Filed        1-1, Page 3
                                                    05/17/22         2 of 3
                                                                          2

Tue., May 24, 2022          Appellant's Mediation Questionnaire due. If your
                            registration for Appellate CM/ECF is confirmed after
                            this date, the Mediation Questionnaire is due within
                            one day of receiving the email from PACER
                            confirming your registration.
Fri., June 17, 2022         Transcript shall be ordered.
Fri., July 15, 2022         Transcript shall be filed by court reporter.
Wed., August 24, 2022       Appellant's opening brief and excerpts of record
                            shall be served and filed pursuant to FRAP 31 and
                            9th Cir. R. 31-2.1.
Mon., September 26, 2022 Appellees' answering brief and excerpts of record
                         shall be served and filed pursuant to FRAP 31 and
                         9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: Ruben Talavera
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
